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 1 McGREGOR W. SCOTT
   United States Attorney
 2 OWEN ROTH
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-0041 TLN
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   JAMES SMALLWOOD and                                 DATE: January 18, 2018
     JOHN SMALLWOOD,                                     TIME: 9:30 a.m.
15                                                       COURT: Hon. Troy L. Nunley
                                  Defendants.
16

17                                               STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and Defendants, by and
19 through Defendants’ counsel of record, hereby stipulate as follows:

20          1.      By previous order, this matter was set for a status conference on January 18, 2018. By
21 this stipulation, the parties now move to continue the status conference until February 22, 2018, and to

22 exclude time between January 18, 2018, and February 22, 2018, under Local Code T4.

23          2.      The parties agree and stipulate, and request that the Court find the following:
24                  a)     The Government represents that the discovery associated with this case presently
25          comprises approximately 150 pages of reports and 12 audio-visual recordings that have been
26          produced to Defendants, as appropriate. The Government is producing some additional
27          discovery to Defendants. And, it has unsealed search warrants and complaints, which have been
28          made available to counsel.

      STIPULATION REGARDING EXCLUDABLE TIME              1
      PERIODS UNDER SPEEDY TRIAL ACT
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 1                  b)     Counsel for Defendant desire time to review the discovery for this matter,

 2          including the discovery to be produced imminently; to conduct additional investigation and

 3          research concerning the charges and to consult with Defendants about the foregoing; to assess

 4          and discuss potential methods of resolution; and to assess going to trial. The parties anticipate

 5          that on February 22, they will be able to inform the Court whether they are going to seek trial

 6          dates or reach a resolution.

 7                  c)     Counsel for Defendants submit that failure to grant the requested continuance

 8          would deny them reasonable time necessary for effective preparation, taking into account the

 9          exercise of due diligence. The Government does not dispute this submission.

10                  d)     Based on the above-stated findings, the ends of justice served by continuing the

11          case as requested outweigh the interest of the public and Defendants in a trial within the original

12          date prescribed by the Speedy Trial Act.

13                  e)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14          et seq., within which trial must commence, the time period of January 18, 2018 to February 22,

15          2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

16          T4] because it results from a continuance granted by the Court on the basis of the Court’s finding

17          that the ends of justice served by taking such action outweigh the best interest of the public and

18          Defendants in a speedy trial.

19          3.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

20 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

21 must commence.

22          IT IS SO STIPULATED.

23 Dated: January 16, 2018                                    McGREGOR W. SCOTT
                                                              United States Attorney
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25                                                            /s/ OWEN ROTH
                                                              OWEN ROTH
26                                                            Assistant United States Attorney
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      STIPULATION REGARDING EXCLUDABLE TIME               2
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 1 Dated: January 16, 2018                           /s/ DOUGLAS BEEVERS
                                                     DOUGLAS BEEVERS
 2                                                   Counsel for Defendant
 3                                                   JAMES SMALLWOOD

 4
     Dated: January 16, 2018                         /s/ OLAF W. HEDBERG
 5                                                   OLAF W. HEDBERG
                                                     Counsel for Defendant
 6                                                   JOHN SMALLWOOD
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                                         FINDINGS AND ORDER
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           IT IS SO FOUND AND ORDERED this 16th day of January, 2018.
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                                               THE HONORABLE TROY L. NUNLEY
15                                             UNITED STATES DISTRICT JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME      3
      PERIODS UNDER SPEEDY TRIAL ACT
